Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 1 of 8 PAGEID #: 3378




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO

    STUDENT RESOURCE CENTER,                        )
    LLC,                                            )
                                                    )
            Plaintiff,                              )
                                                    )   Case No. 2:22-cv-2653
    v.                                              )
                                                    )   Chief Judge Algenon L. Marbley
    EASTERN GATEWAY COMMUNITY                       )
    COLLEGE,                                        )   Magistrate Judge Chelsey M.
                                                    )   Vascura
           Defendant.                               )
                                                    )

                  DEFENDANT'S AMENDED NOTICE OF DEPOSITION
              PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 30(b)(6)

          PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of Civi l

  Procedure, Defendant Eastern Gateway Community College ("EGCC" or " Defendant"), wi ll take

  the deposition of the designated corporate representative(s) of Plaintiff Student Resource Center,

   LLC ("SRC" or "Plaintiff') on February 13 and 14, 2024 at I 0:00 a.m . at the offices of Brennan,

   Manna & Diamond located at 200 Public Square, Suite 1850, Cleveland, Ohio 44114.

          PLEASE TAKE FURTHER NOTICE that the designated corporate representative will

   be asked to testify on SRC's behalf concerning al l matters described in the attached Schedule A.

  The deposition shall be taken before a notary public, court reporter, or other person authorized to

  administer oaths, and may continue day to day thereafter until complete. Defendant reserves the

   right to record the deposition testimony of the above identified deponent(s) by videotape, in

  add ition to recording the testimony by stenographic means. Defendant reserves the right to use

   the videotape deposition at the time of trial.



                                                                                       DEFENDANT'S
                                                                                         EXHIBIT
                                                                                     I A
Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 2 of 8 PAGEID #: 3379




   Dated: January 9, 2024

                                     Isl Adam D. Fuller
                                     Justin M. A laburda (#0082 139)
                                     Victoria L. Ferrise (#0085012)
                                     Adam D. Fu ller (#0076431)
                                     BRENNAN, MANNA & DIAMOND, LLC
                                     75 East Market Street
                                     Akron, OH 44308
                                     Ph: (330) 253-5060 / Fax: (330) 253-1977
                                     jmalaburda@bmdllc.com
                                     vlferrise@ bmdllc.com
                                     adfu Iler@ bmd Ile.com

                                      Marlon A. Primes (#0043982)
                                      Abigail E. Peabody (#0099804)
                                      BRENNAN, MANNA & DIAMOND, LLC
                                      200 Public Square
                                      Huntington Building, Suite 3270
                                      C leve land, OH 44114
                                      Ph: (216) 658-2155 / Fax: (2 16) 658-2156
                                      maprimes@ bmdlle.com
                                      aepeabody@ bmd I le.com

                                      Special Counsel for Plaintiff Eastern Gateway
                                      Community College




                                          2
Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 3 of 8 PAGEID #: 3380




                                             SCHEDULE A
                                             DEFINITIONS

          A.      The term "Complaint" shall mean the complaint filed by SRC in the above-

   captioned action on June 30, 2022 (ECF No. l ).

          B.      The term "A nswer" shall mean the answer filed by Defendant EGCC in the above-

   captioned action on September 12, 2022 (ECF No. 24).

          C.      The term "Counterclaims" shall mean the counterclaims filed by Defendant EGCC

   in the above-captioned action on September 12, 2022 (ECF No. 24).

          D.      The term " Amended Counterclaims" shall mean the counterc laims filed by

   Defendant EGCC in the above-captioned action on October 23 , 2023 (ECF No. 67).

          E.      The term "Amended Complaint" shall mean the amended complaint filed by SRC

   in the above-captioned action on October 10, 2022 (ECF No. 28).

          F.      The term "Second Amended Comp laint" shall mean the Second Amended

   Complaint filed by SRC in the above-captioned action on October 9, 2023 (ECF No. 66).

          G.      The term " Pleadings" shall refer to the Complaint, Answer, Counterclaims,

   Amended Counterclaims, Amended Complaint, and Second Amended Complaint in their entirety.

          H.      The term "Defendant" or " EGCC" shall mean Eastern Gateway Community

   College and its respective past or present members, employees, agents, officers, d irectors, trustees,

   and all persons w ho acted or purported to act on behalf of EGCC.

          I.      The term "Plaintiff' or " SRC" shall mean Student Resource Center, LLC and

   includes, all predecessors, successors or assigns, and its respective past or present members,

   employees, agents, officers, directors, trustees, and all persons who acted or purported to act on

   behalf of SRC.




                                                     3
Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 4 of 8 PAGEID #: 3381




          J.      The term " Collaboration Agreement" sha ll mean the agreement dated June 30,

   20 17, as amended on or around October 2019 and February I, 2021 between SRC and EGCC,

   which was filed as Exhibit A to the Complaint.

          K.      The term " Free College Benefit Program" shall have the same meaning heari ng as

   the term "Free College Program" w ithin EGCC's discovery requests to SRC.

          L.      The term "Notice" shall mean the letter from EGCC to SRC dated May I 0, 2022,

   wh ich was filed as Exhibit B to the Complaint.

          M.      The term "Notice of Material Breach" shall mean the letter from SRC to EGCC

   dated October 27, 2022, which was filed as Exhibit C to the Amended Counterc laims.




                                                     4
Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 5 of 8 PAGEID #: 3382




                                               TOPICS

         1. The formation and execution of the Collaboration Agreement and the amendments
            thereto.

        2. SRC's and EGCC's respective performance under the Co llaboration Agreement and
           the terms thereof.

         3. SRC's participation in the Free College Benefit Program.

        4. SRC's contact, communications, or correspondence with EGCC regarding the
           Collaboration Agreement.

         5. The Co llaboration Agreement' s Operating Committee (as that term is described in
            Section 2.6 of the Collaboration Agreement), SRC' s Operating Committee's
            representatives and their credentials, the Operating Committee meetings, their
            frequency, attendance thereto, and cancellation thereof.

        6. The Collaboration Agreement's Annua l Budget Approval Process as described in
           Section 7 .2 of the Collaboration Agreement.

        7. SRC's compliance w ith the non-competition provisions of the Col laboration
           Agreement.

         8. SRC's financial status and records reflecting its financial status for 202 1, 2022 and
            2023.

        9. SRC's rebranding as Edvance.

         10. SRC's requests to EGCC for operating expense reimbursements, including but
             not limited to those submitted on or about September 6, 2022, September 28,
             2022, October 14, 2022, October 27, 2022, November 18, 2022, November 22,
             2022 , December 6, 2022, December 20, 202, January 3, 2023, January 18, 2023,
             February 2, 2023, February 14, 2023 , February 28, 2023 , March 14, 2023,
             March 28, 2023, April 11 , 2023, April 27, 2023, and May 17, 2023, and the
             factual basis, records, calculations, and informat ion SRC relied on in claim ing
             these operating expense reimbursements.

         11. SRC ' s requests to EGCC for profit sharing payments for Fiscal Years 2022 and
             2023 , and the factual basis, records, calculations, and information SRC relied on
             in claiming these profit-sharing payments.

         12. SRC ' s demand for expectation damages in this lawsuit and the factual basis,
             records, calculations, and information SRC relied on in claiming these damages.

         13. SRC's demand for any other damages in th is lawsuit and the factua l basis,
             records, calculations, and information SRC relied on in claiming these damages.

         14. From January I, 2022 to the time of the deposition, SRC's contact,
                                                   5
Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 6 of 8 PAGEID #: 3383




            communications, or correspondence internally regarding the Collaboration
            Agreement, the Free College Benefit Program, the Higher Learning
            Commission's decision to place EGCC on probation, and the U.S.
            Department of Education's cease and desist letter dated July 18, 2022.

         15. SRC's contact, communications, or correspondence with EGCC, internally or
             w ith any third party regardi ng the Notice.

         16. SRC's contact, communications, or correspondence with EGCC, internally or
             w ith any third party regarding Exhibit B to the Amended Counterclaims.

         17. EGCC's request to resume pe rfo rmance under the Collaboratio n Agreement in
             October 2022 and SRC's Notice of Material Breac h.

         18. From May 10, 2022 to the time of deposition, SRC's contact, com munications,
             o r correspondence with any higher ed ucation institution other than EGCC
             regarding the development and/or marketing of on line courses and programs fo r
             unions and other professional associations.

         19. From May 10, 2022 to the time of deposition, SRC's contact, communications,
             o r correspondence with any professional union supported by the Collaboratio n
             Agreement about the F ree College Benefit program at EGCC.

        20. Fro m May 10, 2022 to the time of deposition, SRC's contact, com munications,
            o r correspondence with any professional union supported by the Collaboration
            Agreement about being supported by a higher education institution other than
            EGCC.

         2 1. EGCC's profit sharing a nd operating expense payments paid to SRC under the
              Collaboration Agreement pursuant to Exhibit B of the Collaboration Agreeme nt,
              including the calculations of those amounts paid or owed, the documents or
              information used to support such calculatio ns, and EGCC's correspondence, internal
              o r external, concerning such amounts paid.

         22. From May I 0, 2022 to the time of depos ition, SRC's contact,
             communications, o r correspondence w ith the U.S. Department of Education
             regard ing EGCC, the Collaboration Agreement and/or the Free College Benefit
             Program.

         23 . From May I 0, 2022 to the time of depos itio n, SRC's contact,
              communications, or correspondence with the Higher Learning Commission
              regarding EGCC, the Co llaboration Agreement and/or the Free College Benefit
              Program.

         24. From May I 0, 2022 to the time of deposition, SRC's contact,
             communications, or correspondence with a ny agency of the State of Ohio
             regard ing EGCC, the Collaboration Agreement and/or the Free College Benefit
             Program.

                                                 6
Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 7 of 8 PAGEID #: 3384




         25. The factual allegations contained within the Amended Complaint ,r 1-1 20 and 159- 168.

         26. The factual allegations contained w ithin the Second Amended Complaint at ,r,r 3-1 6, 19,
             25-1 33, 138-139, 144, 147-149, 155-160, 164-171 , 174-181 , 184and 186.

         27. The factual allegations contained within the Amended Counterclaims at ,r,r 16-22, 37,
             41-44 and 47.

         28. The factual basis for all affirmative defenses SRC asse11s or may assert in this
             litigation once plead ings are closed, such as impossibility of performance, including
             all documents or information which SRC claims support its affirmative defenses.

         29. SRC's responses to EGCC's d iscovery requests in this lawsuit and the documents
             produced by SRC in response to those requests, including SRC ' s process for
             gathe ring documents in response to those requests.

         30. Factual information contained in the emai ls identified on SRC's privilege log.

         3 1. SRC 's business relationship(s) with Union Plus, Employee Benefit Systems, Inc.
              and/or any professional union supported by the Co llaboration Agreement.




                                                   7
Case: 2:22-cv-02653-ALM-CMV Doc #: 109-1 Filed: 06/13/24 Page: 8 of 8 PAGEID #: 3385




                                      CERTIFICATE OF SERVICE

         I hereby certify that on January 9, 2024, a copy of forgoing was served via electronic mail to

  the fo llowing counsel of record:

         C. David Paragas
         Robert C. Folland
         David M. DeVillers
         Michelle M. N icholson
         Jeff A. Bartolozzi
         BARNES & THORNBURG LLP
         41 S. High Street, Ste. 3300
         Columbus, Ohio 43215-6104

         Attorneys for Plaintiff Student Resource Center, LLC




                                                 Isl Adam D. Fuller
                                                 Adam D. Full er

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